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                           EXHIBIT M
Case 4:20-cv-00957-SDJ Document 349-14 Filed 04/09/24 Page 2 of 3 PageID #: 9598




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES, et al.,                        )
                                               )
                Plaintiffs,                    )
                                               )
        v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                               )
 GOOGLE LLC,                                   )
                                               )
                Defendant.                     )

                              AMENDED NOTICE OF DEPOSITION

        PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil

 Procedure, Plaintiffs will take the deposition of Neal Mohan, commencing on Tuesday,

 October 24, 2023 at 9:00 a.m., at the U.S. Attorney’s Office for the Eastern District of

 Virginia, located at 2100 Jamieson Ave, Alexandria, VA 22314, or as otherwise agreed to by

 the parties. The deposition will be conducted by oral examination before a certified court

 reporter authorized to administer oaths and will continue from day to day until completed.

 The deposition will be recorded by stenographic means and by videotape.



        Dated: October 10, 2023


                                       BY: /s/ Julia Tarver Wood
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                               /s/ Andrew N. Ferguson
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                               Tennessee, Washington, and West Virginia




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